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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                           PINE BLUFF DIVISION

DELTA SPRAYERS, INC.                      §
                                          §
                      Plaintiff,          §
                                          §
v.                                        §   CIVIL ACTION NO. 5:16-cv-00170-JM
                                          §
PRATT AND WHITNEY CANADA                  §
                                          §
                      Defendants.         §


                  DEFENDANT’S OMNIBUS MOTION IN LIMINE

        Defendant Pratt and Whitney Canada (“
                                            PWC”) moves the Court to enter an

Order, prior to the voir dire examination of the jury panel, that counsel for plaintiff

and any and all witnesses called on plaintiff’s behalf, be instructed to refrain from

any mention or interrogation, directly or indirectly, in any manner whatsoever,

including the offering of documents or evidence concerning the matters set forth

herein. PWC further requests that the Court order that if plaintiff’s counsel wishes

to propose a theory of admissibility concerning these matters, that they first must

request a ruling from the Court outside the presence and hearing of prospective

jurors or the jury:

1.      Excluding any Reference To or Evidence, Testimony, or Argument
        Concerning Other Unrelated Alleged Defects or Recalls.

        The evidence should be limited to this product, the subject PT6A-65AG

engine, and the defects alleged in this lawsuit. Evidence, testimony, or argument

about defects not involved in this case or airworthiness directives, service bulletins,

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service letters, airworthiness instructions or recalls of this product or other PWC

products for problems not involved in this case is improper due to lack of relevancy.

Fed. R. Evid. 401, 402.

2.      Excluding any Reference To or Evidence, Testimony, or Argument
        Concerning the Absence or Identity of PWC's Corporate
        Representative.

        Any reference to the fact that PWC may not have a representative at trial at

any particular time or to PWC's choice of its corporate representative as not being

the appropriate person to respond to plaintiffs’ allegations should be barred. The

existence or nonexistence of a corporate representative is non-evidentiary. It has no

bearing upon any issue to be decided by the jury. To suggest otherwise asks the jury

to infer liability from something unrelated to the product's manufacture, design, or

sale. The remark asks the jury to disobey the Court's instructions and decide the

case not solely upon the evidence presented. Fed. R. Evid. 401, 403.

3.      Excluding Any Reference To or Evidence, Testimony, or Argument
        Concerning Other Accidents, Incidents, Complaints and Lawsuits.

        The Court should bar any reference to any prior or subsequent accidents,

incidents, claims, complaints or lawsuits involving PWC products, including but not

limited to the PT6A-65AG and other PT6A engines, that are not substantially

similar to the accident and engine at issue in this case, particularly where the

plaintiff attempts to use these other incidents to prove defect, causation or "notice"

to PWC. PWC makes this motion on the following grounds: (1) details of other

accidents, actions, and claims are irrelevant and immaterial to the issues in this


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case; (2) any probative value evidence of details of other accidents, actions, and

claims may have is substantially outweighed by the prejudice, confusion, and

prolongation of the trial that their admission into evidence would cause; and (3)

allegations made in other accidents, actions, and claims constitute inadmissible

hearsay. While plaintiff may claim these other incidents provided "notice" to PWC

of defects in the PT6 engine, this only highlights the hearsay problem: other

accidents, complaints, and lawsuits only provide PWC such notice if one assumes

the truth of the matters asserted by those prior litigants, exactly what the hearsay

rules prohibit. Fed. R. Evid. 401, 403, 404(b), 703.

         Because plaintiff has not identified in discovery any “
                                                               other similar incidents”

or “
   OSI’s” which they intend to offer in evidence at trial, this particular motion is

being made out of an abundance of caution. However to the extent that plaintiff

intends to offer OSI evidence and the Court does not bar its admission over PWC’s

timeliness objection, before attempting to introduce such evidence, PWC requests

the plaintiff first provide notice to the Court and PWC and make a foundational

showing of "sufficient similarity" with respect to time, place, or circumstance,

outside the presence of the jury. See Lockley v. Deere & Co., 933 F.2d 1378 (8th Cir.

1991).

4.       Excluding Any Reference To or Evidence, Testimony, or Argument
         Concerning Failure to Warn, Recall and/or Retrofit.

         Because Arkansas does not recognize a post-sale duty to warn, the Court

should bar any reference to or evidence, testimony, or argument suggesting that


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PWC had a duty, subsequent to the delivery of the engine in question, to notify, or

publicize to purchasers or to warn purchasers, of the alleged need for an alternative

design or other post-delivery modification, or that PWC had a post-sale duty to

warn again, update its warnings, send consumer reminders, or issue a service

bulletin, service letter, airworthiness instruction, or other recall subsequent to

delivery of the engine in question.

5.      Excluding Any Reference To Or Evidence, Testimony, Or Argument
        Concerning The Size, Specialization Or Representation By PWC's
        Counsel.

        This Motion extends to any reference to or evidence, testimony, or argument

regarding whether the attorneys for PWC in this lawsuit regularly represent PWC,

other defendants, corporations, or insurance companies or manufacturers in

lawsuits; that they specialize in product liability cases or cases involving "aviation";

or the number of attorneys who are members of the firms in which PWC's attorneys

practice or the number of attorneys or firms who have appeared on PWC's behalf in

this case. Such evidence is irrelevant and prejudicial.

6.      Excluding reference to PWC’s financial status.

        Evidence regarding the financial status of PWC should likewise be excluded.

This is barred inter alia by Federal Rules of Evidence 402 and 403 in that it is not

relevant to any germane issue in the case, would be unfairly prejudicial, would

confuse the issues and inflame the jury, and would unduly delay the case and waste

time. Berkeley Pump Co. v. Reed-Joseph Land Co., 279 Ark. 384, 402 (1983); Adams

Laboratories v. Jacobs Engineering Co., 761 F.2d 1218, 1226 (7th Cir. 1985).

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7.      Excluding any hearsay in any records and any records not properly
        authenticated.
        Plaintiff indicated in its pre-trial brief that it intends to offer a number of

records into evidence, including bills, receipts, and other documents created by non-

parties. Any document that is not properly authenticated or that is not subject to a

hearsay exclusion should be excluded. Fed. R. Evid. 801, 802, 803, 804, and 901.

        PWC further moves in limine to exclude the following testimony:

        a.      Any testimony, comment or documentary evidence of the relative

"wealth" of PWC or any testimony or comment that the plaintiff is "poor" or "little"

in comparison to the size and financial status of PWC as such evidence would

clearly be designed to invoke prejudice against PWC and sympathy for plaintiff.

        b.      Any request in front of the jury that defense counsel or employees of

PWC produce any document, statements, pleadings, photographs, or any other

tangible exhibits contained in the files of the PWC or its attorneys.

        c.      Any testimony, comment, or documentary evidence referencing any

discovery disputes, which may have occurred during the pendency of this litigation.

        d.      Any mention, reference, or question regarding any document that is

not properly authenticated and admitted into evidence.

        e.      Any testimony or argument to the effect that plaintiff or its attorney

would like to present additional evidence to the jury, but the Court would not allow

them to do so, or any suggestion or emphasis to the jury that PWC has moved to

prohibit or exclude evidence.



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        WHEREFORE, Pratt and Whitney Canada respectfully requests that the

Court grant the following relief:

        (a)     That plaintiff, its counsel, and all witnesses called on its behalf be

instructed not to mention or bring before the jury, either directly or indirectly, upon

voir dire examination, opening statement, interrogation of witnesses, introduction

of any evidence, argument, objections before the jury, reading of any portion of the

pleadings, or by any other means or in any other manner inform the jury, or bring

to the jury’s attention any of the matters set forth above, unless and until such

matters have been first called to the attention of the Court as to the admissibility

and relevance of any such matters;

        (b) That plaintiff’s counsel be specifically instructed to inform and counsel all

of their witnesses and their client, not to volunteer, interject, disclose, state, or

mention in the presence of the jury, or in any other way refer to any of the matters

stated above, unless and until specifically questioned thereon after prior favorable

ruling by the Court; and

        (c) That plaintiff’s counsel be instructed that a violation of any and/or all of

the Court’s instructions, if any, in connection with these issues, would be likely to

constitute undue harm to PWC’s case and deprive PWC of a fair and impartial jury

trial, and that such violations and failure to abide by the Court’s Order may bring

about a mistrial or other sanctions.




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                                        Respectfully,

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                            CERTIFICATE OF SERVICE

  I hereby certify that on September 20, 2018, I presented the foregoing to the Clerk

of Court for filing and uploading to the CM/ECF system, which shall send

notification of such filing to the following:

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